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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20212-4-Ma

HOWARD COVINGTON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of thc Government, it is ORDERED that a detention hearing is set for
'I`HURSDAY, JUNE 16, 2005 at 3:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9"‘ Floor, United States Courthouse and Federal Building, 167 North

Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United

States Marshal and produced for the hearing

Date: June 13, 2005 LMJ
` TU M. PHAM

UNITED STATES MAGISTRATE IUDGE

 

llt not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govcmment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, it` there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j usti ce, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (8185) Order of Temporary Deiention

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20212 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

